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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 IVETTE M. MARTÍNEZ GONZÁLEZ, et als.

           Plaintiffs                                 CIVIL NO. 16-2077 (JAG)
             v.
                                                  CIVIL ACTION UNDER
 CATHOLIC SCHOOLS OF THE                          E.R.I.S.A.; PRELIMINARY AND
 ARCHDIOCESES OF SAN JUAN THE                     PERMANENT INJUNCTION;
 PROVISIONS OF PENSION PLAN, et als.              TEMPORARY RESTRAINING
                                                  ORDER
         Defendants


                              NOTICE OF APPEARANCE

TO THE HONORABLE COURT:

      COMES NOW the undersigned attorney and files this Notice of Appearance as

retained counsel for the Superintendence of the Catholic Schools of the Archdioceses of

San Juan and Mr. Samuel Soto in the above-styled and numbered cause.

      WHEREFORE, co-defendants move the Court to take notice of the undersigned

attorney’s appearance on their behalf.

      I CERTIFY that today I electronically filed the foregoing with the Clerk of the Court

using the CM/ECF system.

      In San Juan, Puerto Rico, this 30th day of June 2016.

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